Case 1:21-cv-22218-JLK Document 1 Entered on FLSD Docket 06/16/2021 Page 1 of 26




                       UNITED STATES DISTRICT COURT FOR THE
                           SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION


  LAMAR ALFONSA,

                 Plaintiff,

  v.                                                          Case No. ________________
                                                              JURY TRIAL DEMANDED
  RENTOKIL NORTH AMERICA, INC.
  individually and d/b/a, GUARANTEE
  FLORIDIAN PEST CONTROL and
  JC EHRLICH CHEM CO.,

                 Defendants.

                                          COMPLAINT

        Plaintiff Alfonsa Lamar (“Plaintiff or “Mr. Lamar”), by his undersigned counsel, Derek

 Smith Law Group, PLLC, hereby complains of Defendant Rentokil North America, Inc.,

 individually and d/b/a Guarantee Floridian Pest Control (“Defendant Rentokil”) and Defendant

 JC Ehrlich Chem Co., (“Defendant Chem Co.”) (collectively, the “Company” or “Defendants”),

 and alleges as follows:

                                        INTRODUCTION

        1.      This case is about a blue-collar employee trapped in a workplace infested with

 racial discrimination, and an employer whose willful indifference to the employee’s repeated

 complaints culminated in a violent attack against the employee, and his unlawful termination.

        2.      Plaintiff Lamar Alfonsa brings this action pursuant to Title VII of the Civil Rights

 Act of 1964, as amended, 42 U.S.C. § 2000e, et seq. (“Title VII”) and the Florida Civil Rights Act

 of 1992, § 760.01, et seq., Florida Statutes (“FCRA”). Plaintiff seeks monetary relief to redress




                                                 1
Case 1:21-cv-22218-JLK Document 1 Entered on FLSD Docket 06/16/2021 Page 2 of 26




 Defendants’ willful, deliberate, and repeated employment practices in violation of Title VII and

 the FCRA.

        3.      Defendants systematically treated Hispanic employees better than Mr. Lamar

 because of his race and national origin.      For instance, Mr. Lamar’s immediate supervisor

 intentionally assigned Plaintiff inferior jobs, such that Mr. Lamar stood to earn less commission

 than his Hispanic coworkers. Defendants gave Hispanic employees ice and sports drinks but gave

 Plaintiff water and little ice. On Thanksgiving Day, Defendants sent Mr. Lamar and his black

 coworkers to a job in Orlando, Florida.       Meanwhile, Defendants never sent any Hispanic

 employees to jobs hundreds of miles away. Worse, Plaintiff’s coworkers would say things like,

 “You’re lazy,” or when Mr. Lamar would arrive proudly bearing Haitian regalia, his Hispanic

 coworkers would hold their noses and say, “Haitians fucking stink.”

        4.      Defendants enforced its internal policy against Mr. Lamar but failed to discipline

 Hispanic employees. For example, Defendants disciplined Plaintiff for “cursing in front of a lady,”

 but took no action against an employee who repeatedly smoked in Company vehicles and had a

 cursing fit, and banged the walls of his supervisor’s office. Then, a Hispanic who grew tired of

 Mr. Lamar’s discrimination complaints attacked Mr. Lamar with a machete. Mr. Lamar reported

 the incident to the police, and five days later Defendants terminated Plaintiff for “unprofessional

 behavior.”

        5.      Mr. Lamar made every effort to complain, apprise, and plead with Defendants to

 rectify a workplace laden with unbelievable racial disparity and hostility. Mr. Lamar complained

 to his immediate supervisor. He complained to Defendants’ branch manager. He complained to

 the Company hotline. He complained to Rentokil executives. Not only did Defendants fail to




                                                 2
Case 1:21-cv-22218-JLK Document 1 Entered on FLSD Docket 06/16/2021 Page 3 of 26




 rectify the racial disparity in its workplace—Defendants made it clear they had no interest in

 entertaining Plaintiff’s complaints.

         6.       For instance, after he attempted to complain to Defendants’ branch manager, the

 manager told Mr. Lamar, “You complain too much.” Other times the manager locked the office

 door. One time, the manager stuck his middle finger up at Mr. Lamar for so long Plaintiff had

 time to take a picture. To be sure, Defendants did not operate an equal opportunity workplace—

 Defendants were preoccupied with corporate mergers and avoiding violations to rectify the most

 racist, hostile work environment Mr. Lamar had ever experienced.

         7.       At bottom, this Action seeks to redress Defendants’ deprivation of Plaintiff’s

 personal dignity and his civil right to pursue an equal employment opportunity in a work

 environment free from intentional discrimination, retaliation, and wrongful termination.

                                   JURISDICTION AND VENUE

         8.       The Court has jurisdiction over this action under 28 U.S.C. §§ 1331 (federal

 question) and 42 U.S.C. §2000e-5(f)(3) (Title VII), and 28 U.S.C. § 1367 (supplemental

 jurisdiction).

         9.       Venue is proper in the Southern District of Florida under 28 U.S.C. § 1391(b)

 because a substantial portion of the actions or omissions giving rise to this Action occurred in the

 Southern District of Florida.

                                               PARTIES

         10.      Plaintiff Alfonsa Lamar is an individual residing in Miami-Dade County, Florida.

         11.      Plaintiff is expressly authorized to bring this action by sections 706(f)(1) and (3) of

 Title VII, 42 U.S.C. §§ 2000e-5(f)(1) and (3) and FCRA § 760.11(1).




                                                    3
Case 1:21-cv-22218-JLK Document 1 Entered on FLSD Docket 06/16/2021 Page 4 of 26




          12.   Defendant Guarantee Floridian Pest Control Corporation is a Florida Profit

 Corporation.

          13.   Defendant Guarantee Floridian is a “person” within the meaning of 42 U.S.C.

 §2000e(a) and FCRA § 760.02(6) and an “employer” within the meaning of 42 U.S.C. §2000e(b)

 and FCRA § 760.02(7).

          14.   Defendant Rentokil North America, Inc. is a Foreign Profit Corporation, with its

 principal address located at 1125 Berkshire Blvd., Suite 150, Wyomissing, Pennsylvania 19160,

 and locations throughout the United States, including a location at 658 NW 99th St, Miami, Florida

 33150.

          15.   Defendant Rentokil is a publicly traded corporation with operations throughout

 throughout the United States.

          16.   Defendant Rentokil is a “person” within the meaning of 42 U.S.C. §2000e(a) and

 FCRA § 760.02(6) and an “employer” within the meaning of 42 U.S.C. §2000e(b) and FCRA §

 760.02(7).

          17.   On or about October 16, 2015, Defendant J.C, Ehrlich Co., Inc. began doing

 business as “Rentokil North America, Inc.”

          18.   On or about March 23, 2020 Defendant Rentokil merged with JC Ehrlich Chem Co.

 individually and d/b/a Guarantee Floridian Pest Control.

          19.   Plaintiff was jointly employed by Defendant Rentokil and Defendant Guarantee

 Floridan Pest Control at all material times.

                            ADMINISTRATIVE PREREQUISITES

          20.   Plaintiff has complied with all administrative requirements.




                                                 4
Case 1:21-cv-22218-JLK Document 1 Entered on FLSD Docket 06/16/2021 Page 5 of 26




         21.     On or about April 4, 2017, Plaintiff timely dual-filed a charge of discrimination

 (Charge No. 846-2017-10324) with the U.S. Equal Employment Opportunity Commission

 (“EEOC”), and the Florida Commission on Human Relations (“FCHR”), naming JC Ehrlich

 Chem Co. d/b/a Guarantee Floridian Pest Control as the Respondent.

         22.     The EEOC investigated Plaintiff’s charge and found reasonable cause to believe

 Defendants subjected Plaintiff to unlawful discrimination in violation of Title VII.

         23.     On or about March 19, 2021, after unsuccessfully attempting to conciliate, the

 EEOC issued Mr. Lamar’s right to sue notice.

         24.     This Complaint was timely commenced within 90 days of the EEOC’s notice of

 Plaintiff’s suit rights.

                                   FACTUAL ALLEGATIONS

         25.     Plaintiff Alfonsa Lamar is 48-year-old black man of Haitian descent.

         26.     On or about April 12, 2015, Mr. Lamar began working for Defendants as a “Pest

 Control Technician.” Mr. Lamar worked on a crew of three employees who would travel to

 customers’ homes to fumigate pests from residential homes.

         27.     Mr. Lamar began working for Defendants at a time in his life when he was ready

 to turn over a new leaf. Indeed, Mr. Lamar had recently been released from incarceration and was

 determined to be a productive contributor. In fact, Plaintiff had spent time studying and working

 as a law clerk while in prison.

         28.     Unfortunately, Mr. Lamar’s job with Defendants exposed him to the most

 discriminatory, hostile environment he had ever experienced.

         29.     Favio Herrera (“Mr. Herrera”) was the “District Manager” for Defendants at

 Guarantee Floridan Pest Control’s Miami location.        Mr. Herrera was Plaintiff’s immediate




                                                  5
Case 1:21-cv-22218-JLK Document 1 Entered on FLSD Docket 06/16/2021 Page 6 of 26




 supervisor and held direct supervisory authority over Mr. Lamar, controlling various terms and

 conditions of his employment.

        30.     Mr. Herrera treated Hispanic and/or Colombian employees more favorably than

 Mr. Lamar because of his race. Indeed, Mr. Herrera provided non-black, non-Haitian employees

 with more favorable job assignments, resulting in Plaintiff’s diminished opportunities to earn

 commission. Mr. Herrera enforced the Company’s policy against Plaintiff but did not discipline

 Hispanic and/or Colombian employees. After a Hispanic employee attacked Mr. Lamar with a

 machete, Mr. Herrera placed Mr. Lamar under investigation, and terminated him five days later.

        31.     Bob Freeman (“Mr. Freeman”) was the “Assistant Branch Manager” of

 Defendants’ location in Miami, Florida. Mr. Freeman hired Mr. Lamar and held direct supervisory

 authority over Plaintiff, controlling various terms and conditions of his employment.

        32.     Mr. Freeman made every effort to refuse to investigate Mr. Lamar’s repeated

 discrimination complaints. Indeed, Mr. Freeman told Plaintiff he “complained too much,” locked

 the door when Mr. Lamar attempted to complain, and stuck his middle finger up at Mr. Lamar

 merely because he sought to complain about discrimination. Mr. Freeman sent an employee who

 had fallen off a roof the day before to drive Mr. Lamar to a job site even though the employee—

 who was ranting and raving in Mr. Freeman’s office—was in no condition to drive. Mr. Freeman’s

 philosophy was to let the employees deal with their issues on their own.

        33.     Deborah Turney (“Ms. Turney”), based in Charlotte, North Carolina, was the “HR

 Business Partner – Southeast Market” for Rentokil North America. Ms. Turney held direct

 supervisory authority, including the power to terminate Plaintiff, controlling various terms and

 conditions of his employment. Ms. Turney claimed to do something about Mr. Lamar’s various

 complaints through the Company hotline, but in the end, Ms. Turney was just like everyone else




                                                 6
Case 1:21-cv-22218-JLK Document 1 Entered on FLSD Docket 06/16/2021 Page 7 of 26




 at the Company—she did not care about Mr. Lamar’s plight. In fact, Ms. Turney enforced Mr.

 Lamar’s termination for “unprofessional behavior” after Mr. Lamar reported the machete attack to

 the police.

  Defendants Intentionally Treat Plaintiff Less Favorably than Hispanic and/or Colombian
                Employees because of Plaintiff’s Race and National Origin

        34.        Defendants treated Mr. Lamar less favorably than its Hispanic, non-Hatian

 employees because of his black race and Haitian national origin.

        35.        Mr. Lamar’s co-workers insisted on harassing Plaintiff because of his Haitian

 ethnicity. For example, Mr. Lamar has a Haitian flag on his personal vehicle, and he takes pride

 in his Haitian background. Nonetheless, throughout the course of Plaintiff’s employment, his co-

 workers would make unwanted and offensive comments about Mr. Lamar’s Haitian ethnicity. For

 instance, when Plaintiff’s Hispanic workers finished a job at a Haitian customer’s house, the co-

 workers would come out of the house squeezing their noses, saying things like “Damn, Haitians

 fucking stink.”

        36.        Defendants provided Hispanic and/or Colombian employees greater job benefits

 than Mr. Lamar. Mr. Herrera—who oversaw daily assignments—routinely assigned Plaintiff and

 his black co-workers to the smaller properties, while he assigned Colombian and Hispanic workers

 to the larger, more lucrative properties. Consequently, Plaintiff stood to earn far less commission

 than his non-black, non-Haitian coworkers because Defendants paid commission based on the

 square footage of a customer’s home.

        37.        Defendants provided updated equipment to Hispanic employees, yet Defendant

 would deny Mr. Lamar’s requests to repair broken down equipment. For example, when Mr.

 Lamar asked for a wheel barrel to be replaced, Mr. Herrera told Plaintiff “too bad—deal with it.”

 Yet, Mr. Herrera would routinely provide new equipment to Hispanic employees. Similarly, Mr.



                                                 7
Case 1:21-cv-22218-JLK Document 1 Entered on FLSD Docket 06/16/2021 Page 8 of 26




 Herrera never allowed Mr. Lamar to use the Company truck, while he had no issues providing

 ones to Hispanic employees. For example, Mr. Herrera loaned Giovanni Romero (“Mr. Romero”)

 a truck, but when Plaintiff’s truck broke down, Mr. Herrera told Mr. Lamar he could not help him.

         38.      Defendants provided Hispanic employees ice and sports drinks while Mr. Lamar

 and his crew would get water and little ice.

         39.      Defendants enforced their internal policy against Mr. Lamar, yet Hispanic

 employees would go unpunished. Indeed, on or about October 31, 2016, during a Company

 meeting, Mr. Lamar used the word “shit” to describe unsafe work conditions. Consequently,

 Defendants reprimanded Plaintiff twice—both verbally (for “cursing in front of a lady”) and in

 writing (for “talking loudly and using profanity”).      Defendants defied its own policy by

 reprimanding Mr. Lamar twice for the same alleged infraction.

         40.      Moreover, even though this was Mr. Lamar’s only write up, Defendants stated Mr.

 Lamar had been “coached in the past about his outbursts and unprofessional behavior including

 yelling and use of profanity. Any future incidence of this behavior will result in immediate

 termination.”

         41.      While Defendants reprimanded Mr. Lamar twice for saying “shit,” to describe

 unsafe working conditions, Defendants failed to reprimand Hispanic employees for repeated

 violations.     For example, Mr. Lamar repeatedly complained about Javier Recuero (“Mr.

 Recuero”) for smoking in Company vehicles. However, Defendants never disciplined Mr.

 Recuero. Similarly, Defendants failed to discipline Mr. Recuero for arriving to work with holes

 in his shirt.

         42.      Hispanic employees would leave for job sites without Mr. Lamar, yet Hispanic

 employees would wait extended periods for other Hispanic and/or Colombian employees. Worse,




                                                 8
Case 1:21-cv-22218-JLK Document 1 Entered on FLSD Docket 06/16/2021 Page 9 of 26




 whenever Mr. Lamar happened to arrive a few moments late, his Hispanic co-workers—included

 the ones who routinely arrived up to thirty minutes late—would call Plaintiff lazy, and say he had

 no work ethic.

        43.       On or about Thanksgiving Day of 2016, Defendants assigned Mr. Lamar to a job

 in Orlando—hundreds of miles away. Defendants did not send any of its Hispanic employees to

 Orlando on Thanksgiving Day—or any day at all.

     Defendants’ Willful Indifference to Plaintiff’s Repeated Discrimination Complaints

        44.       Defendants defied their own policy by refusing to address Plaintiff’s repeated

 complaints of discrimination.       Not only did Defendants fail to investigate Mr. Lamar’s

 complaints—they terminated because he complained.

        45.       Yet, the Company imposed a duty on employees to “warn [their] manager or

 supervisor of any suspicious workplace activity, or incidents that appear problematic that [the

 employee] observe[s], or [is] aware of, involving other employees … [w]e will not condone any

 form of retaliation against an employee making a report under this policy.”

        46.       So, after experiencing disparate treatment because of his race and national origin,

 Mr. Lamar referred to the Company handbook, and brought the hostility and inequity to

 Defendants’ attention.

        47.       However, Defendants actions did not comport with their own policy. Indeed,

 Defendants did not even make an effort to listen to Plaintiff’s discrimination complaints, let alone

 investigate them. Mr. Lamar complained to Mr. Freeman about disparate treatment in the

 workplace because of Plaintiff’s race and national origin. Specifically, Mr. Lamar complained

 about Mr. Herrera’s favorable treatment to Hispanic employees. Further, Mr. Lamar complained

 Defendants’ failure to discipline Hispanic employees when violating company policy.




                                                   9
Case 1:21-cv-22218-JLK Document 1 Entered on FLSD Docket 06/16/2021 Page 10 of 26




          48.     Mr. Lamar complained that Defendants enforced the Company’s policy against him

  but bever disciplined Hispanic employees for their violations.        For example, Defendants

  maintained a policy of “No smoking or other use of tobacco products in vehicles owned, leased,

  or rented by the Company.” Mr. Lamar complained to Mr. Freeman and Mr. Herrera that Mr.

  Recuero repeatedly violated the policy while in the car with Mr. Lamar, which aggravated the

  symptoms of Plaintiff’s health condition. However, neither Mr. Herrera nor Mr. Freeman ever

  disciplined Mr. Recuero or even told him to stop. Conversely, Mr. Herrera reprimanded Plaintiff

  both verbally and in writing and placed Mr. Lamar on a final warning after Plaintiff said “shit”

  while describing unsafe working conditions.

          49.     Mr. Freeman, on behalf of the Company, repeatedly demonstrated he wanted

  nothing to do with Mr. Lamar’s complaints. For example, when Mr. Lamar approached Mr.

  Freeman to complain about racial discrimination, Mr. Freeman told Mr. Lamar, “You complain

  too much.” On other occasions—after Mr. Lamar complained again because of the Company’s

  failure to rectify disparate treatment—Mr. Freeman would lock his office door when he saw Mr.

  Lamar approaching. On yet another occasion, Mr. Freeman stuck his middle finger up at Mr.

  Lamar for so long that Plaintiff had time to take a photo of Mr. Freeman’s willful indifference to

  Plaintiff’s plight.

          50.     So, Mr. Lamar complained to Mr. Herrera, Mr. Gary, Ms. Turney, and the Company

  Hotline. Mr. Lamar notified Defendants’ corporate representatives of disparate treatment in the

  workplace because of his race. For example, Mr. Lamar repeatedly contacted the company

  Hotline. However, Ms. Turney never took Plaintiff’s complaints seriously, evinced by the lack of

  action by Defendants nor Mr. Freeman or Mr. Herrera.




                                                 10
Case 1:21-cv-22218-JLK Document 1 Entered on FLSD Docket 06/16/2021 Page 11 of 26




         51.       As a result of the Company’s inaction, Plaintiff was subjected to greater racial

  discrimination, resulting in violent attack against Plaintiff. When Mr. Lamar reported the incident

  to the police, as explained below, Defendants terminated Mr. Lamar’s employment.

              Defendants Terminate Plaintiff After He Complains about Discrimination

         52.       On or about January 5, 2017, Mr. Recuero attacked Mr. Lamar with a machete.

         53.       Earlier that day, Lazaro Core (“Mr. Core”), one of Defendants’ fumigator

  technicians, was having a tantrum in the office. Mr. Core had fallen off a roof at a jobsite the day

  before. Meanwhile, Mr. Lamar was watching Mr. Core cursing and punching the walls in the

  office while arguing with Mr. Freeman. Plaintiff realized Mr. Core was in no condition to be

  working that day. Nonetheless, Mr. Freeman assigned Mr. Core to drive Mr. Lamar to a job site

  that day.

         54.       At around 9 A.M., Mr. Lamar, Mr. Recuero and Gerineldo Hernandez (“Mr.

  Hernandez”), arrived at a customer’s house to do a routine fumigation.

         55.       Mr. Lamar got frustrated that Mr. Recuero—once again—was smoking in the

  Company vehicle. Mr. Lamar, who was standing outside of the vehicle, recorded Mr. Recuero

  smoking to show Defendants.

         56.       Mr. Recuero became furious. He said, “Why are you videotaping me?” He got out

  of the vehicle, grabbed a machete, said, “stop taking videos of me, I’m sick of it!” and then chased

  Mr. Lamar with a machete.

         57.       The only reason Mr. Recuero did not slash Plaintiff with the machete was because

  Mr. Saul Gamez (“Mr. Gamez”) and Mr. Curtis Lynch (“Mr. Lynch”) stopped Mr. Recuero from

  attacking Plaintiff. They shouted at Mr. Recuero, saying, “No bro! Stop!” Luckily, Plaintiff

  evaded Mr. Recuero’s would-be fatal attack just in time.




                                                  11
Case 1:21-cv-22218-JLK Document 1 Entered on FLSD Docket 06/16/2021 Page 12 of 26




            58.   Moments later, Mr. Lamar reported the incident to the police. Broward County

  police officers arrived, investigated the incident, and arrested Mr. Recuero.

            59.   Meanwhile, Mr. Herrera had arrived. He drove Mr. Lamar back to the Company’s

  office.

            60.   In the car, Mr. Herrera looked at Plaintiff and said, “What the fuck are you calling

  the police for?” Mr. Lamar was shocked. Here he was, after being attacked by his co-worker—

  as a culminating event of Defendants’ inaction—and now Mr. Herrera was reprimanding him

  calling the police. Mr. Herrera showed zero concern for the fact that Mr. Lamar’s life had just

  flashed before his eyes. Mr. Herrera said, “You’re under investigation—immediately!”

            61.   On or about January 11, 2017, Defendants terminated Mr. Lamar “due to

  unprofessional behavior.”

            62.   The above are just some of the examples of unlawful race discrimination and

  retaliation Defendants subjected Plaintiff to on a repeated and ongoing basis.

            63.   Defendants unlawfully discriminated against Plaintiff because of his race and

  national origin and because he complained and opposed race discrimination and retaliation.

            64.   Defendants unlawfully terminated Plaintiff because of his race and national origin

  and because he complained of race and national origin discrimination.

            65.   Plaintiff has suffered emotional distress, mental anguish, loss of personal dignity,

  and other intangible damages. For example, Mr. Lamar and his wife had lost the enjoyment of

  their lives. Mr. Lamar would mope around their home, unwilling to leave. At night he would

  twist and turn amid nightmares that he was being attacked with a machete. During the days, Mr.

  Lamar experienced bouts of anger and frustration. To this day, four years later, Mr. Lamar still

  wakes up in the night, terrified someone is chasing him with a machete.




                                                   12
Case 1:21-cv-22218-JLK Document 1 Entered on FLSD Docket 06/16/2021 Page 13 of 26




          66.       Defendants’ wrongful termination of Mr. Lamar created extreme financial strife in

  Plaintiff’s life. Indeed, Mr. Lamar was forced to apply for food assistance.

          67.       As a result of Defendants’ unlawful conduct, Plaintiff has suffered damages,

  including but not limited to financial and economic damages, lost wages (back pay and front pay)

  and benefits, advancement opportunities with Defendant, and continues to suffer the same.

          68.       Plaintiff claims a continuous practice of discrimination and claims that Defendants

  subjected him to continuing violations and makes all claims herein under the continuing violations

  doctrine.

          69.       Plaintiff claims aggravation, activation, and/or exacerbation of any preexisting

  conditions.

          70.       Plaintiff seeks punitive damages against Defendants because the Company

  willfully and repeatedly violated Plaintiff’s rights by depriving him of his civil rights motivated

  by evil intent.

          71.       At bottom, Defendant is liable for depriving Plaintiff of his personal dignity and his

  civil right to pursue an equal employment opportunity in a work environment free from unrelenting

  discrimination, harassment, retaliation and wrongful termination.

                                          CAUSES OF ACTION

                                                 COUNT I
                                     Title VII, 42 U.S.C. § 2000e-2(a)
                                           Disparate Treatment
                                         (Against all Defendants)

          72.       Plaintiff reincorporates the allegations contained in paragraphs 34-51.

          73.       Defendants violated Title VII, 42 U.S.C. § 2000e-2(a) by intentionally treating

  Plaintiff less favorably than Hispanic employees because of his race and national origin.




                                                     13
Case 1:21-cv-22218-JLK Document 1 Entered on FLSD Docket 06/16/2021 Page 14 of 26




         74.     Defendants gave Hispanic and/or Colombian employees more lucrative job

  assignments than Plaintiff. For example, Mr. Herrera, acting as an agent of Defendants, routinely

  assigned Plaintiff and his black co-workers the smaller houses while he assigned Hispanic and/or

  Colombian employees to the bigger houses, intentionally depriving Plaintiff of financial

  opportunities because of his race. Plaintiff had less opportunity to make commission than his

  Hispanic co-workers because Defendants paid its employees commission per square footage of a

  customer’s home. Thus, Defendants provided Plaintiff with less opportunities to earn as much

  money as his non-black, non-Haitian coworkers.

         75.     On Thanksgiving Day of 2016, Defendants assigned Plaintiff to a job in Orlando,

  Florida—a round trip of nearly 500 miles in one day. Conversely, Defendants did not assign any

  Hispanic and/or Colombian employees a job in Orlando on Thanksgiving Day.

         76.     Moreover, Defendants provided Hispanic and/or Colombian employees better

  equipment than Plaintiff. For example, when Plaintiff asked Mr. Herrera to replace or repair

  Plaintiff’s broken-down wheel barrel, Mr. Herrera told him to deal with it. Conversely, when Mr.

  Romero, a Hispanic, Colombian employee asked for new equipment, Mr. Herrera (also a Hispanic,

  Colombian employee) provided the request to Mr. Romero. On another occasion, when Plaintiff’s

  assigned truck was broken down, Mr. Herrera took no action. Yet, when Mr. Romero’s truck was

  broken down, Mr. Herrera lent Mr. Romero his truck.

         77.     Defendants provided Hispanic employees ice and sports drinks, but supplied

  Plaintiff with water and little ice. If Plaintiff happened to be running less than five minutes behind,

  Defendants would routinely leave for a job site. Yet, if Hispanic employees were late—sometimes

  upwards of 30 minutes—Defendants would have no problem waiting.




                                                    14
Case 1:21-cv-22218-JLK Document 1 Entered on FLSD Docket 06/16/2021 Page 15 of 26




         78.     Defendants enforced their internal policies against Plaintiff, yet failed to enforce

  Company policy against their Hispanic and/or Colombian employees. For example, Defendants

  reprimanded Plaintiff for “cursing in front of a lady,” both verbally and in writing, yet Defendants

  failed to reprimand Mr. Recuero for repeatedly smoking in Company vehicles or coming to work

  with holes in his clothing. Similarly, Defendants did not discipline Mr. Core when he screamed,

  cursed and banged the walls in Mr. Freeman’s office.

         79.     Taken together, these examples of disparate treatment give rise to the reasonable

  inference that Defendants intentionally treated Plaintiff less favorably than Hispanic and/or

  Colombian employees because of Plaintiff’s black race and Haitian national origin.

         80.     As a result of Defendants unlawful employment actions in violation of Title VII,

  42 U.S.C. § 2000e-2(a), Plaintiff has suffered damages.

                                            COUNT II
                                       FCRA, § 760.10(1)(a)
                                       Disparate Treatment
                                      (Against all Defendants)

         81.     Plaintiff reincorporates the allegations contained in paragraphs 34-51.

         82.     Defendants violated FCRA, § 760.10(1)(a) by intentionally treating Plaintiff less

  favorably than Hispanic employees because of his race and national origin.

         83.     Defendants gave Hispanic and/or Colombian employees more lucrative job

  assignments than Plaintiff. For example, Mr. Herrera, acting as an agent of Defendants, routinely

  assigned Plaintiff and his black co-workers the smaller houses while he assigned Hispanic and/or

  Colombian employees to the bigger houses, intentionally depriving Plaintiff of financial

  opportunities because of his race. Plaintiff had less opportunity to make commission than his

  Hispanic co-workers because Defendants paid its employees commission per square footage of a




                                                  15
Case 1:21-cv-22218-JLK Document 1 Entered on FLSD Docket 06/16/2021 Page 16 of 26




  customer’s home. Thus, Defendants provided Plaintiff with less opportunities to earn as much

  money as his non-black, non-Haitian coworkers.

         84.     On Thanksgiving Day of 2016, Defendants assigned Plaintiff to a job in Orlando,

  Florida—a round trip of nearly 500 miles in one day. Conversely, Defendants did not assign any

  Hispanic and/or Colombian employees a job in Orlando on Thanksgiving Day.

         85.     Moreover, Defendants provided Hispanic and/or Colombian employees better

  equipment than Plaintiff. For example, when Plaintiff asked Mr. Herrera to replace or repair

  Plaintiff’s broken-down wheel barrel, Mr. Herrera told him to deal with it. Conversely, when Mr.

  Romero, a Hispanic, Colombian employee asked for new equipment, Mr. Herrera (also a Hispanic,

  Colombian employee) provided the request to Mr. Romero. On another occasion, when Plaintiff’s

  assigned truck was broken down, Mr. Herrera took no action. Yet, when Mr. Romero’s truck was

  broken down, Mr. Herrera lent Mr. Romero his truck.

         86.     Defendants provided Hispanic employees ice and sports drinks, but supplied

  Plaintiff with water and little ice. If Plaintiff happened to be running less than five minutes behind,

  Defendants would routinely leave for a job site. Yet, if Hispanic employees were late—sometimes

  upwards of 30 minutes—Defendants would have no problem waiting.

         87.     Defendants enforced their internal policies against Plaintiff, yet failed to enforce

  Company policy against their Hispanic and/or Colombian employees. For example, Defendants

  reprimanded Plaintiff for “cursing in front of a lady,” both verbally and in writing, yet Defendants

  failed to reprimand Mr. Recuero for repeatedly smoking in Company vehicles or coming to work

  with holes in his clothing. Similarly, Defendants did not discipline Mr. Core when he screamed,

  cursed and banged the walls in Mr. Freeman’s office.




                                                    16
Case 1:21-cv-22218-JLK Document 1 Entered on FLSD Docket 06/16/2021 Page 17 of 26




          88.     Taken together, these examples of disparate treatment give rise to the reasonable

  inference that Defendants intentionally treated Plaintiff less favorably than Hispanic and/or

  Colombian employees because of Plaintiff’s black race and Haitian national origin.

          89.     As a result of Defendants unlawful employment actions in violation of FCRA, §

  760.10(1)(a), Plaintiff has suffered damages.

                                              COUNT III
                                   Title VII, 42 U.S.C. § 2000e-2(a)
                                     Hostile Work Environment
                                       (Against all Defendants)

          90.     Plaintiff reincorporates the allegations in paragraphs 25-61.

          91.     Defendants subjected Plaintiff to harassment because of his race, and national

  origin in violation of Title VII, 42 U.S.C. § 2000e-2(a).

          92.     Plaintiff’s co-workers insisted on discriminating against Plaintiff because of his

  Haitian national origin. For example, when Plaintiff would arrive at Defendants’ building his co-

  workers would hold their noses, implying that Plaintiff smelled bad because of the Haitian flag he

  flew on his car. On other occasions whenever Plaintiff’s co-workers finished a job for a Haitian

  family, they would say things like, “Damn—Haitians fucking stink.”

          93.     Plaintiff was subjected to unwelcome harassment because of his protected class

  status throughout his employment with Defendants. Mr. Freeman would harass Plaintiff by

  sticking his middle finger up at Mr. Lamar when he attempted to complain about disparate

  treatment in the workplace. Other times, Mr. Freeman would lock the door. Moreover, Plaintiff

  was attacked with a machete because of his race. Mr. Herrera assigned Plaintiff smaller houses,

  while supplying Hispanic employees with larger hours, directly affecting Plaintiff’s living.

  Similarly, Mr. Herrera provided Hispanic employees with ice and sports drinks, while Plaintiff got

  water and little ice.



                                                   17
Case 1:21-cv-22218-JLK Document 1 Entered on FLSD Docket 06/16/2021 Page 18 of 26




         94.     Mr. Freeman further discriminated against Plaintiff by sending Mr. Core to drive

  Plaintiff to the job knowing that Mr. Core was in no condition to work that day. Indeed, Mr.

  Freeman knew that Mr. Core had fallen of the roof the day before. Mr. Freeman also knew that

  Mr. Core had embarked on a tirade banging doors and screaming. Still, Mr. Freeman intentionally

  assigned Mr. Core to drive Plaintiff to the job site knowing of his fitness. Immediately upon

  arrival, Mr. Recuero attacked Plaintiff with a machete.

         95.     The above-described harassment was sufficiently severe and/or pervasive to alter

  the terms and conditions of Plaintiff’s employment. Indeed, the inability to make complaints

  because of his race altered the conditions of Defendants’ own handbook which instructed

  employees to complain. Further, the adverse job assignments cost Plaintiff financial strife each

  time Mr. Herrera assigned Hispanic and/or Colombian employees to larger properties than

  Plaintiff. Consequently, Plaintiff earned less money than his non-black, non-Haitian coworkers

  because of Plaintiff’s race and national origin. Moreover, Plaintiff was attacked with a machete,

  and subsequently investigated and ultimately terminated after he called the police.

         96.     Defendants are liable for the environment because Plaintiff exhausted every avenue

  to bring such discrimination to its attention. For example, Plaintiff complained to Mr. Freeman,

  Mr. Herrera, and Ms. Turney. Still, nothing changed. Mr. Freeman would ignore Plaintiff’s

  complaints, going so far as to lock the door when Plaintiff attempted to complain of racial

  discrimination. On another occasion, Mr. Freeman stuck his middle finger up at Plaintiff for so

  long that Plaintiff obtained a picture of Mr. Freeman’s blatant insult.

         97.     Plaintiff exhausted every channel provided by Defendants. Defendant neglected

  their guidelines for appropriately responding to a race-related harassment claim, causing Plaintiff

  to experience extreme racial discrimination. Plaintiff complained to his immediate supervisor, Mr.




                                                   18
Case 1:21-cv-22218-JLK Document 1 Entered on FLSD Docket 06/16/2021 Page 19 of 26




  Freeman. Plaintiff complained to corporate executives. Plaintiff complained through Defendant’s

  harassment hotline.    Thus, Defendants had actual notice of Plaintiff’s racial discrimination

  complaints.

         98.     Still, Defendants failed to exercise reasonable care. In fact, Defendants failed to

  take any care. Mr. Freeman would either tell Plaintiff he “complained too much,” give him the

  middle finger or otherwise lock his door.

         99.     This point is buttressed by the culminating fact that Plaintiff was physically

  attacked by a co-worker wielding a machete, set to kill Plaintiff, after months of repeated

  complaints to Defendants, giving Defendants every opportunity to correct the harassing behavior.

  Instead, Defendants took no action.

         100.    As a result of Defendants unlawful employment actions in violation of Title VII,

  42 U.S.C. § 2000e-2(a) Plaintiff suffered damages.

                                             COUNT IV
                                       FCRA, § 760.10(1)(a)
                                     Hostile Work Environment
                                      (Against all Defendants)

         101.    Plaintiff reincorporates the allegations in paragraphs 25-61.

         102.    Defendants subjected Plaintiff to harassment because of his race, and national

  origin in violation of Title VII, 42 U.S.C. § 2000e-2(a).

         103.    Plaintiff’s co-workers insisted on discriminating against Plaintiff because of his

  Haitian national origin. For example, when Plaintiff would arrive at Defendants’ building his co-

  workers would hold their noses, implying that Plaintiff smelled bad because of the Haitian flag he

  flew on his car. On other occasions whenever Plaintiff’s co-workers finished a job for a Haitian

  family, they would say things like, “Damn—Haitians fucking stink.”




                                                  19
Case 1:21-cv-22218-JLK Document 1 Entered on FLSD Docket 06/16/2021 Page 20 of 26




          104.    Plaintiff was subjected to unwelcome harassment because of his protected class

  status throughout his employment with Defendants. Mr. Freeman would harass Plaintiff by

  sticking his middle finger up at Mr. Lamar when he attempted to complain about disparate

  treatment in the workplace. Other times, Mr. Freeman would lock the door. Moreover, Plaintiff

  was attacked with a machete because of his race. Mr. Herrera assigned Plaintiff smaller houses,

  while supplying Hispanic employees with larger hours, directly affecting Plaintiff’s living.

  Similarly, Mr. Herrera provided Hispanic employees with ice and sports drinks, while Plaintiff got

  water and little ice.

          105.    Mr. Freeman further discriminated against Plaintiff by sending Mr. Core to drive

  Plaintiff to the job knowing that Mr. Core was in no condition to work that day. Indeed, Mr.

  Freeman knew that Mr. Core had fallen of the roof the day before. Mr. Freeman also knew that

  Mr. Core had embarked on a tirade banging doors and screaming. Still, Mr. Freeman intentionally

  assigned Mr. Core to drive Plaintiff to the job site knowing of his fitness. Immediately upon

  arrival, Mr. Recuero attacked Plaintiff with a machete.

          106.    The above-described harassment was sufficiently severe and/or pervasive to alter

  the terms and conditions of Plaintiff’s employment. Indeed, the inability to make complaints

  because of his race altered the conditions of Defendants’ own handbook which instructed

  employees to complain. Further, the adverse job assignments cost Plaintiff financial strife each

  time Mr. Herrera assigned Hispanic and/or Colombian employees to larger properties than

  Plaintiff. Consequently, Plaintiff earned less money than his non-black, non-Haitian coworkers

  because of Plaintiff’s race and national origin. Moreover, Plaintiff was attacked with a machete,

  and subsequently investigated and ultimately terminated after he called the police.




                                                  20
Case 1:21-cv-22218-JLK Document 1 Entered on FLSD Docket 06/16/2021 Page 21 of 26




         107.    Defendants are liable for the environment because Plaintiff exhausted every avenue

  to bring such discrimination to its attention. For example, Plaintiff complained to Mr. Freeman,

  Mr. Herrera, and Ms. Turney. Still, nothing changed. Mr. Freeman would ignore Plaintiff’s

  complaints, going so far as to lock the door when Plaintiff attempted to complain of racial

  discrimination. On another occasion, Mr. Freeman stuck his middle finger up at Plaintiff for so

  long that Plaintiff obtained a picture of Mr. Freeman’s blatant insult.

         108.    Plaintiff exhausted every channel provided by Defendants. Defendant neglected

  their guidelines for appropriately responding to a race-related harassment claim, causing Plaintiff

  to experience extreme racial discrimination. Plaintiff complained to his immediate supervisor, Mr.

  Freeman. Plaintiff complained to corporate executives. Plaintiff complained through Defendant’s

  harassment hotline.    Thus, Defendants had actual notice of Plaintiff’s racial discrimination

  complaints.

         109.    Still, Defendants failed to exercise reasonable care. In fact, Defendants failed to

  take any care. Mr. Freeman would either tell Plaintiff he “complained too much,” give him the

  middle finger or otherwise lock his door.

         110.    This point is buttressed by the culminating fact that Plaintiff was physically

  attacked by a co-worker wielding a machete, set to kill Plaintiff, after months of repeated

  complaints to Defendants, giving Defendants every opportunity to correct the harassing behavior.

  Instead, Defendants took no action.

         111.    As a result of Defendants unlawful employment actions in violation of FCRA §

  760.10(1)(a), Plaintiff has suffered damages.




                                                   21
Case 1:21-cv-22218-JLK Document 1 Entered on FLSD Docket 06/16/2021 Page 22 of 26




                                              COUNT V
                                  Title VII, 42 U.S.C. § 2000e-3(a)
                                             Retaliation
                                      (Against all Defendants)

         112.   Plaintiff reincorporates the allegations in paragraphs 34-61.

         113.   Plaintiff engaged in protected activity, among other ways, by complaining to Mr.

  Freeman, the Company hotline, Mr. Herrera, and to the police of racial and national origin

  discrimination.

         114.   Shortly after Plaintiff filed his complaints, Defendants initiated a series of

  retaliatory events that would dissuade a reasonable person from complaining about discrimination.

         115.   For example, Mr. Freeman would tell Plaintiff he “complained too much.” Other

  times, following Plaintiff’s discrimination complaints, Mr. Freeman would lock his door when he

  saw Plaintiff approaching. On one occasion, Plaintiff attempted to complain about discrimination,

  Mr. Freeman stuck his middle finger up at Plaintiff for so long that Plaintiff had time to take a

  picture of Mr. Freeman’s disgusting response.

         116.       After Mr. Lamar complained to Mr. Herrera about unfair work assignments, Mr.

  Herrera continued assigning Plaintiff to smaller houses than Hispanic employees. Then, on

  Thanksgiving Day of 2016, Defendants assigned Plaintiff to a job in Orlando, Florida. Moreover,

  Defendants placed Plaintiff on a final warning for “cursing in front of a lady" when Mr. Lamar

  complained of unsafe working conditions and otherwise disparate treatment.

         117.   Then, on or about January 5, 2017, after Plaintiff complained again about racial

  discrimination, Mr. Freeman allowed Mr. Core to drive Plaintiff to the job site. Mr. Core had

  fallen of a roof the day before. On the morning of January 5, 2017, Mr. Core was screaming in

  Mr. Freeman’s office uncontrollably, banging on the walls, and in no condition to work.




                                                  22
Case 1:21-cv-22218-JLK Document 1 Entered on FLSD Docket 06/16/2021 Page 23 of 26




  Nonetheless, Mr. Freeman sent Mr. Core to take Plaintiff to the site. When they arrived, Mr.

  Recuero attacked Plaintiff with a machete.

         118.    Shortly thereafter, Plaintiff engaged in protected activity by calling the police.

         119.    Mr. Herrera was aware that Plaintiff called the police. Indeed, Mr. Herrera drove

  Plaintiff back to Defendants’ office and said, “What the fuck are you calling the police for?” Mr.

  Herrera immediately suspended Plaintiff and placed him under investigation. Then, on or about

  January 11, 2021, Mr. Herrera, acting for Defendants, terminated Plaintiff for “unprofessional

  behavior.”

         120.    Any reasonable worker in Plaintiff’s position would be dissuaded from

  complaining about discrimination if he knew his employer would subject Plaintiff to more, not

  less discrimination, and certainly not if he knew complaining would result in termination.

         121.    Defendant took the aforementioned adverse actions against Plaintiff because of the

  various protected activities described above.

         122.    As a result of Defendant unlawful retaliation in violation of Title VII, § 2000e-3(a),

  Plaintiff has suffered damages.

                                            COUNT VI
                                        FCRA, § 760.10(7)
                                            Retaliation
                                      (Against all Defendants)

         123.    Plaintiff reincorporates the allegations in paragraphs 34-61.

         124.    Plaintiff engaged in protected activity, among other ways, by complaining to Mr.

  Freeman, the Company hotline, Mr. Herrera, and to the police of racial and national origin

  discrimination.

         125.    Shortly after Plaintiff filed his complaints, Defendants initiated a series of

  retaliatory events that would dissuade a reasonable person from complaining about discrimination.



                                                   23
Case 1:21-cv-22218-JLK Document 1 Entered on FLSD Docket 06/16/2021 Page 24 of 26




         126.    For example, Mr. Freeman would tell Plaintiff he “complained too much.” Other

  times, following Plaintiff’s discrimination complaints, Mr. Freeman would lock his door when he

  saw Plaintiff approaching. On one occasion, Plaintiff attempted to complain about discrimination,

  Mr. Freeman stuck his middle finger up at Plaintiff for so long that Plaintiff had time to take a

  picture of Mr. Freeman’s disgusting response.

         127.    After Mr. Lamar complained to Mr. Herrera about unfair work assignments, Mr.

  Herrera continued assigning Plaintiff to smaller houses than Hispanic employees. Then, on

  Thanksgiving Day of 2016, Defendants assigned Plaintiff to a job in Orlando, Florida. Moreover,

  Defendants placed Plaintiff on a final warning for “cursing in front of a lady" when Mr. Lamar

  complained of unsafe working conditions and otherwise disparate treatment.

         128.    Then, on or about January 5, 2017, after Plaintiff complained again about racial

  discrimination, Mr. Freeman allowed Mr. Core to drive Plaintiff to the job site. Mr. Core had

  fallen of a roof the day before. On the morning of January 5, 2017, Mr. Core was screaming in

  Mr. Freeman’s office uncontrollably, banging on the walls, and in no condition to work.

  Nonetheless, Mr. Freeman sent Mr. Core to take Plaintiff to the site. When they arrived, Mr. Mr.

  Recuero attacked Plaintiff with a machete.

         129.    Shortly thereafter, Plaintiff engaged in protected activity by calling the police.

         130.    Mr. Herrera was aware that Plaintiff called the police. Indeed, Mr. Herrera drove

  Plaintiff back to Defendants’ office and said, “What the fuck are you calling the police for?” Mr.

  Herrera immediately suspended Plaintiff and placed him under investigation. Then, on or about

  January 11, 2021, Mr. Herrera, acting for Defendants, terminated Plaintiff for “unprofessional

  behavior.”




                                                   24
Case 1:21-cv-22218-JLK Document 1 Entered on FLSD Docket 06/16/2021 Page 25 of 26




            131.   Any reasonable worker in Plaintiff’s position would be dissuaded from

  complaining about discrimination if he knew his employer would subject Plaintiff to more, not

  less discrimination, and certainly not if he knew complaining would result in termination.

            132.   Defendants took the aforementioned adverse actions against Plaintiff because of

  the various protected activities described above.

            133.   As a result of Defendants unlawful retaliation in violation of FCRA, § 760.10(7),

  Plaintiff has suffered damages.

                                       PRAYER FOR RELIEF

            WHEREFORE, Plaintiff demands judgment against Defendants, containing the following

  relief:

            A.     An order directing Defendant Renotkil and Defendant Guarantee Floridian to place

  Plaintiff in the position he would have had but for Defendants’ discriminatory, retaliatory and/or

  otherwise unlawful treatment of Plaintiff.

            B.     An award of damages against Defendants in an amount to be determined at trial,

  plus prejudgment interest to compensate Plaintiff for all monetary and/or economic damages,

  including, but not limited to, the loss of past and future income, wages, compensation, job security

  and other benefits of employment;

            C.     Pursuant to FCRA § 760.11(5) and Title VII § 102(b)(3), an award of damages

  against Defendants in an amount to be determined at trial, plus prejudgment interest to compensate

  Plaintiff for future pecuniary losses, emotional pain, suffering, inconvenience, mental anguish,

  loss of enjoyment of life, personal dignity, depression and other nonpecuniary losses;

            D.     An award of damages for any and all other monetary and/or non-monetary losses

  suffered by Plaintiff in an amount to be determined at trial, plus prejudgment interest;




                                                  25
Case 1:21-cv-22218-JLK Document 1 Entered on FLSD Docket 06/16/2021 Page 26 of 26




         E.      Pursuant to FCRA §760.11(5) and Title VII § 102(b)(1), an award of punitive

  damages against Defendants for the Company’s engagement in discriminatory practices with

  malice or with reckless indifference to Plaintiff’s rights under federal and state law

         F.      An award against Defendants of liquidated damages;

         G.      Pursuant to FCRA § 760.11(5) and Title VII § 103, an award against Defendants

  of costs that Plaintiff has incurred in this Action, as well as Plaintiff’s reasonable attorneys’ fees

  plus costs and interest to the fullest extent permitted by law; and

         H.      Such other and further relief the Court deems just and proper.

                                         JURY DEMAND

         Plaintiff Alfonsa Lamar hereby demands a jury trial of all issues so triable pursuant to Rule

  38 of the Federal Rules of Civil Procedure and Section 102 of the Civil Rights Act of 1991.

  Dated: June 16, 2021


                                                        Respectfully submitted,


                                                        By: /s/ Caroline H. Miller
                                                        Caroline H. Miller, Esq.
                                                        Fl Bar No. 1012331
                                                        DEREK SMITH LAW GROUP, PLLC
                                                        Attorneys for Plaintiff Alfonsa Lamar
                                                        701 Brickell Ave., Suite 1310
                                                        Miami, Florida 33131
                                                        (305) 946-1884
                                                        Primary: caroline@dereksmithlaw.com




                                                   26
